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                                       DECLARATION


        I, Francine Hall, President of Si Tanka University, make this declaration to the following
facts for the Eagle Butte campus:


1. A combined total of 92 students were enrolled in Session 1 and Session 2 for the Summer
   2004 program.

2. The total school enrollment from September 1, 2004, to April 30, 2005, was 303 students.

3. The following percentages on funding are based on the 2004-2005 school year:

       a. 0.03% of the students received funding through work study.
       b. 59% of the students received funding through Pell grants.
       c. 32% of the students received funding through the Student Educational Opportunity
          Grant.
       d. 41% of students did not receive Title IV funding.


       I, declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.

       Executed on this ____ day of May, 2005.


                                                     SI TANKA UNIVERSITY


                                                     By: ________________________________
                                                           Francine Hall
                                                           It: President
